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VVESTERN DIVISION =.l. . bid

 

 

UNiTED STATES OF AMER|CA
Piaintiff

VS.
CR. NO. 04-20226-B

i\/|iCHAEL FLEM|NG (b)

Defendant.

 

ORDER ON CONT|NUANCE AND SPECIFYING PERiOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on April 25, 2005. At that time, counsel forthe
defendant requested a change of plea date.

The Court granted the request and set the change of plea date of l\/|ay 16, 2005.
The Court subsequently continued the change of plea date to Tuesday, May 24, 2005
at 9:00 a.m., in Courtroom 1. 11th Floor ofthe Federa| Bui|ding, |V|emphis, TN.

The period from May 13, 2005 through June 17, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(i\/) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

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J. D NIEL BREEN `
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This document entered on the docket sheet in compliance

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

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This notice confirms a copy of the document docketed as number 33 in
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Honorable J. Breen
US DISTRICT COURT

